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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 GEORGE WEBB SWEIGERT, et al.,

                           Plaintiffs

           v.
                                                          Case No: 1:17-cv-02330-RC
 JOHN PODESTA, et al.,

                         Defendants.                      Judge Rudolph Contreras


                       DEFENDANT RANA’S MOTION TO DISMISS

       Defendant Rana, by and through undersigned counsel, respectfully moves pursuant to

Fed R. Civ. P. 12(b) to dismiss claims against Haseeb Rana for lack of standing and for failure to

state a claim upon which relief can be granted. In support of this Motion, the Court is

respectfully referred to the accompanying Memorandum of Points and Authorities.

       Defendant Rana requests a hearing on this Motion.

                                                      Respectfully submitted,

 Dated: December 18, 2017                             /s/     Jesse Winograd
                                                      Jesse I. Winograd
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                                                      Counsel for Defendant Haseeb Rana
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of December, 2017, I filed the foregoing with the Clerk

of the United States District Court for the District of Columbia by using the CM/ECF system, which

has provided electronic notice to all counsel of record, and I have served the following individual by

first-class U.S. mail and electronic mail:

        George Webb Sweigert
        Country Inn
        8850 Hampton Mall Drive N.
        Capitol Height, MD 20743
        georg.webb@gmail.com


                                                        Respectfully submitted,

 Dated: December 18, 2017                               /s/     Jesse Winograd
                                                        Jesse I. Winograd
                                                        DC Bar No.: 986610
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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


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                           Plaintiffs

           v.
                                                          Case No: 1:17-cv-02330-RC
 JOHN PODESTA, et al.,

                         Defendants.                      Judge Rudolph Contreras



                  MEMORANDUM OF POINTS AND AUTHORITIES
             IN SUPPORT OF DEFENDANT RANA’S MOTION TO DISMISS


       Plaintiff George Webb Sweigert’s (“Webb”) Complaint against John Podesta, et al.,

including, among others, defendant Haseeb Rana (“Mr. Rana” or “defendant Rana”) alleges a

global conspiracy to defraud Democratic National Committee (“DNC”) Donors and candidates

nominated by the DNC for a President of the United States of America and Breach of Fiduciary

Duty. Despite the sweeping nature of plaintiff’s Complaint, he makes only conclusory charges

against Mr. Rana and fails to assert any specific action Mr. Rana has taken as a part of the

alleged causes of action-Fraud and Breach of Fiduciary Duty. As discussed more fully below, the

claims against Mr. Rana should be dismissed.

                               I. Plaintiff Lacks Standing to Sue

       The party invoking federal jurisdiction bears the burden of establishing all the elements of

a claim. See FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231, 107 L. Ed. 2d 603, 110 S. Ct. 596 (1990).

This is not a mere tanding pleading requirement but rather an indispensable part of the plaintiff's

case; each element must be supported in the same way as any other matter on which the plaintiff

bears the burden of proof, i. e., with the manner and degree of evidence required at the successive

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stages of the litigation. See Lujan v. National Wildlife Federation, 497 U.S. 871, 883-889, 111 L.

Ed. 2d 695, 110 S. Ct. 3177 (1990); Gladstone, Realtors v. Village of Bellwood, 441 U.S. 91, 114-

115, 60 L. Ed. 2d 66, 99 S. Ct. 1601, and n. 31 (1979). Federal courts are courts of limited

jurisdiction. They possess only that power authorized by Constitution and statute, Willy v. Coastal

Corp., 503 U.S. 131, 136-137, 117 L. Ed. 2d 280, 112 S. Ct. 1076 (1992); Bender v. Williamsport

Area School Dist., 475 U.S. 534, 541, 89 L. Ed. 2d 501, 106 S. Ct. 1326 (1986), which is not to be

expanded by judicial decree, American Fire & Casualty Co. v. Finn, 341 U.S. 6, 95 L. Ed. 702, 71

S. Ct. 534 (1951). Therefore, “[I]t is presumed that a cause lies outside [the federal courts'] limited

jurisdiction,” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, unless the plaintiff

can establish by a preponderance of the evidence that the court possesses jurisdiction. See, e.g.,

U.S. ex rel. Digital Healthcare, Inc. v. Affiliated Computer, 778 F. Supp. 2d 37, 43 (D.D.C. 2011)

(citing Hollingsworth v. Duff, 444 F. Supp. 2d 61, 63 (D.D.C. 2006)). Thus, the ‘plaintiff's factual

allegations in the complaint . . . will bear closer scrutiny in resolving a 12(b)(1) motion than in

resolving a 12(b)(6) motion for failure to state a claim.’ Id. (quoting Grand Lodge of Fraternal

Order of Police v. Ashcroft, 185 F. Supp. 2d 9, 13-14 (D.D.C. 2001) (internal citation and quotation

marks omitted).

       Article III of the Constitution of the United States restricts the jurisdiction of federal

courts to cases or controversies. Arizona Christian School Tuition Org. v. Winn, 131 S. Ct. 1436,

1442 (2011); Coalition for Mercury Free Drugs v. Sebelius, 671 F.3d 1275, 1278-79 (D.C. Cir.

2012). The party seeking to invoke the federal court's jurisdiction bears the burden of

establishing standing. Lujan, 504 U.S. at 561. A showing of standing "is an essential and

unchanging" predicate to any exercise of our jurisdiction. Lujan v. Defenders of Wildlife, 504

U.S. 555, 560, 119 L. Ed. 2d 351, 112 S. Ct. 2130 (1992). In order to satisfy the "irreducible



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constitutional minimum of standing," a litigant must demonstrate that it has suffered a "concrete

and particularized" injury that is: 1) "actual or imminent," Id.; 2) caused by, or fairly traceable to,

an act that the litigant challenges in the instant litigation, Fla. Audubon Soc'y v. Bentsen, 320

U.S. App. D.C. 324, 94 F.3d 658, 663 (1996) (citing Allen v. Wright, 468 U.S. 737, 752, 82 L.

Ed. 2d 556, 104 S. Ct. 3315 (1984); and 3) redressable by the court. Fla. Audubon Soc'y v.

Bentsen, 320 U.S. App. D.C. 324, 94 F.3d 658, 663 (1996) (citing Simon v. Eastern Ky. Welfare

Rights Org., 426 U.S. 26, 38, 48 L. Ed. 2d 450, 96 S. Ct. 1917 (1976). This set of criteria

implements Article III by limiting judicial intervention to only those disputes between adverse

parties that are " "in a form … capable of judicial resolution.' " Schlesinger v. Reservists Comm.

to Stop the War, 418 U.S. 208, 218, 41 L. Ed. 2d 706, 94 S. Ct. 2925 (1974) (quoting Flast v.

Cohen, 392 U.S. 83, 101, 20 L. Ed. 2d 947, 88 S. Ct. 1942 (1968)).

       In order to establish standing, plaintiff Webb should allege specific, concrete facts

demonstrating that actions of Mr. Rana harmed Webb. General statements about a conspiracy are

not be sufficient to meet this requirement. To satisfy Article III’s causation requirement, plaintiff

Webb must show that the alleged injury(-ies) can be directly traced to Mr. Rana’s actions.

Whitmore v. Arkansas, 495 U.S. 149, 155 (1990). The “fairly traceable” prong examines the

“causal connection between the arguably unlawful conduct and the alleged injury” Allen v.

Wright, 468 U.S. 737, 753 n.19 (1984). Plaintiff Webb has the sole burden to show some causal

connection between his injuries and the defendant’s alleged conduct. Because his complaint does

not comply with those requirements, plaintiff Webb does not have standing to sue Mr. Rana.

       To be redressable-under the final element of Article III standing doctrine-plaintiff

Webb’s injury has to be curable if a decision in Webb’s favor decided. Redressability explores

the causal connection between “the alleged injury and the judicial relief requested” Allen v.



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Wright, 468 U.S. 737, 753 n.19 (1984). Because the relief sought will not remedy the alleged

injury due to its absence, plaintiff Webb lacks standing to sue Mr. Rana.

                                II. Plaintiff Fails to State Claims

       In determining whether a complaint fails to state a claim, the court may consider only the

facts alleged in the complaint, any documents either attached to or incorporated in the complaint

and matters of which we may take judicial notice. E.E.O.C. v. St. Francis Xavier Parochial Sch.,

117 F.3d 621, 624 (D.C. Cir. 1997), see Marshall County Health Care Auth. v. Shalala, 300 U.S.

App. D.C. 263, 988 F.2d 1221, 1226 n.6 (D.C. Cir. 1993). The court must consider all well-pled

allegations in a complaint as true, and must construe all factual allegations in the light most

favorable to the plaintiff. Aktieselskabet AF 21 November 2001 v. Fame Jeans Inc., 525 F.3d 8,

17 (D.C. Cir. 2008) (citing Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1965, 167 L. Ed. 2d

929 (2007); Stewart v. Nat'l Educ. Ass'n, 374 U.S. App. D.C. 46, 471 F.3d 169, 173 (D.C. Cir.

2006)); Macharia v. United States, 357 U.S. App. D.C. 223, 334 F.3d 61, 64, 67 (D.C. Cir.

2003). Nevertheless, the court need not accept unsupported legal allegations, legal conclusions

couched as factual allegations, or conclusory factual allegations devoid of any reference to actual

events. Warren v. Dist. of Columbia, 359 U.S. App. D.C. 179, 353 F.3d 36, 39 (D.C. Cir. 2004).

A court should dismiss a complaint for failure to state a claim where a defendant can show

beyond doubt that the plaintiff can prove no set of facts in support of his claim that would entitle

him to relief. Warren, 353 F.3d at 37.

        Plaintiff's Fraud Count (Count I) Fails to State a Claim Against Defendant Rana

       The plaintiff’s Complaint contains numerous conclusory charges, but no factual

allegations to support his claims against Mr. Rana. Webb construed his complaint as a random




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list of unsupported legal allegations, legal conclusions couched as factual allegations, or

conclusory factual allegations devoid of any reference to actual events.

       In order to prevail, plaintiff Webb must prove all the elements of fraud. Fraud is never

presumed and must be particularly pleaded. It must be established by clear and convincing

evidence, which is not equally consistent with either honesty or deceit. The essential elements of

common law fraud are: (1) a false representation (2) in reference to material fact, (3) made with

knowledge of its falsity, (4) with the intent to deceive, and (5) action is taken in reliance upon the

representation. Atraqchi v. GUMC Unified Billing Servs., 788 A.2d 559, 563 (D.C.2002)

(quoting Bennett v. Kiggins, 377 A.2d 57, 59 (D.C.1977)).

       Plaintiff’s Complaint fails to show, even in the light most favorable to him, a single fact

or piece of evidence tending to show that Mr. Rana had provided a false representation. Because

Plaintiff Webb failed to state when, where, and what, if any, a false representation Mr. Rana

made to Webb and other plaintiffs, in reference to material fact(s) and with knowledge of its

falsity, having the intent to deceive plaintiff Webb and other plaintiffs, and plaintiff Webb and

his co-plaintiffs relied upon those representation, if Webb and other plaintiffs had never met Mr.

Rana or otherwise communicated with him, Plaintiff's Fraud Count (Count I) against Mr. Rana

should be dismissed. 1




1
 Not only has the Complaint failed to allege Fraud, it makes factual inaccurate statements. For
example, Section 17 of the Complaint provides that Mr. Rana “has been a key IT employee of
Debbie Wasserman Schultz maintains offices in Washington, D.C. and resides in Springfield,
VA.” In fact, Mr. Rana has never worked for Debbie Wasserman Schultz; nor lived in
Springfield, VA or maintain any office in Washington, D.C.

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 Plaintiff's Breach of Fiduciary Duty Count (Count II) Fails to State a Claim Against Defendant

                                                 Rana

        To state a claim for breach of fiduciary duty, plaintiff(s) “must allege facts sufficient to

show (1) the existence of a fiduciary relationship; (2) a breach of the duties associated with the

fiduciary relationship; and (3) injuries that were proximately caused by the breach of fiduciary

duties.” Friends Christian High Sch. v. Geneva Fin. Consultants, 39 F.Supp.3d 58, 63 (D.D.C.

2014) (quoting Armenian Genocide & Mem'l, Inc. v. Cafesjian Family Found., Inc., 607

F.Supp.2d 185, 190–91 (D.D.C. 2009)).

        Plaintiff Webb has failed to properly plead the elements needed to establish his legal

claim. Besides the generic statement that Defendants had a fiduciary duty to the Democratic

Party Class Plaintiffs, to the Citizens Class Plaintiffs, members of the Democratic Party Class,

and to the Citizens Class; Plaintiff Webb cites to no other source of a fiduciary duty and point to

no court decision that has determined that Mr. Rana as a citizen of the United States and former

IT employee of the House of Representatives owes abovementioned institutions, individuals or

entities a fiduciary duty, if any. Because plaintiff has failed to state the particular fiduciary duty

owed to him or his co-plaintiffs by Mr. Rana, all other elements of this cause of action can not be

established.

        Without more, this Honorable Court should find that Plaintiff Webb and his co-plaintiffs

have failed to allege facts to plausibly state a claim.

                                           III. Conclusion

        Taking into consideration that plaintiff Webb failed to establish and prove standing to sue

Mr. Rana and Webb’s failure to state claim upon which relief can be granted, this Honorable

Court should dismiss the complaint against Mr. Rana.



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                                         Respectfully submitted,

Dated: December 18, 2017                 /s/     Jesse Winograd
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                          Plaintiffs

              v.
                                                        Case No: 1:17-cv-02330-RC
 JOHN PODESTA, et al.,

                        Defendants.                     Judge Rudolph Contreras



                                           ORDER

        AND NOW, this ______ day of ______________________, 201_, after consideration

 of Defendant Rana’s Motion to Dismiss Plaintiffs' Complaint against him, it is hereby

        ORDERED that Defendant’s motion was GRANTED; and it is

        FURTHER ORDERED that Plaintiffs' Complaint against defendant Rana shall be

 dismissed.

        It is SO ORDERED.




                                                   _____________________________
                                                   Judge Rudolph Contreras




Copies to: All counsel of record and Plaintiff George Webb Sweigert




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